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UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF
JOSE DEJESUS RODRIGUEZ, No. 06-16006
D.C. Nn. CV-GS-OZGGO-
Plaintiff - Appellem, MCE/GGI-I

V.

STATE COMPENSATION [NSURANCE \
FUND, ` ORDER

Defendant - Appellee,
end
ERlC P. JONES,

Defendant.

 

 

This appeal has been taken in good faith [ ]
This appeal is not taken in good faith [ ,/]/

Explanation:

 

 

 

 

Judge MURRTSDN C. ENGLAND,R
United Statee Distriet Court

Date: KIUL 1 0 mi

 

